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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

EARL PARRIS, JR., individually,         )
and on behalf of a class of persons     )
similarly situated,                     )
                                        )
      Plaintiff,                        )
                                        )    Case No. 4:21-cv-00040-TWT
CITY OF SUMMERVILLE,                    )
GEORGIA,                                )
                                        )
      Intervenor-Plaintiff,             )
                                        )
                                        )
v.                                      )
                                        )
3M COMPANY, et al.,                     )
                                        )
      Defendants.                       )

                      DEFENDANT 3M COMPANY’S
              RULE 5.4 NOTICE OF SERVICE OF DISCOVERY

      Pursuant to Local Rule 5.4 and 26.3(A), I hereby certify that on August 5,

2022, I caused 3M Company’s Responses and Objections to Plaintiff’s First Set of

Interrogatories and Requests for Production of Documents to be served via e-mail

upon all counsel of record in this matter.

      This 8th day of August, 2022.

                                       /s/ Benjamin P. Harmon
                                       Benjamin P. Harmon, GA Bar No. 979043
                                       Jackson R. Sharman, III, GA Bar No. 637930
                                          1
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                            Harlan I. Prater, Pro Hac Vice application
                            forthcoming
                            M. Christian King, Pro Hac Vice application
                            forthcoming
                            W. Larkin Radney, Pro Hac Vice application
                            forthcoming
                            Lightfoot, Franklin and White LLC
                            The Clark Building
                            400 20th Street North
                            Birmingham, AL 35203
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                            Counsel for Defendant 3M Company




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                      CERTIFICATE OF SERVICE AND
                    COMPLIANCE WITH LOCAL RULE 5.1

      I hereby certify that on August 8, 2022, I electronically filed the foregoing,

which has been prepared using 14-point Times New Roman Font, with the Clerk of

Court using the CM/ECF system, which will automatically send email notification

of such filing to all attorneys of record.

      This 8th day of August, 2022.

                                         /s/ Benjamin P. Harmon
                                         Benjamin P. Harmon
                                         Georgia Bar No. 979043
                                         Lightfoot, Franklin and White LLC
                                         bharmon@lightfootlaw.com

                                         Counsel for Defendant 3M Company




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